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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.      CR06-296 JCC
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    JASON SCOTT HUNTER,          )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17            Conspiracy to Import Marijuana, in violation of Title 21, U.S.C., Sections 952(a),
18            960(a)(1)(b)(1)(G) and 963;
19            Money Laundering, in violation of Title 18, U.S.C., Sections 1957 and 2.
20 Date of Detention Hearing: September 15, 2006
21            The Court, having conducted a contested detention hearing pursuant to Title 18
22 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
23 hereafter set forth, finds that no condition or combination of conditions which the defendant
24 can meet will reasonably assure the appearance of the defendant as required and the safety
25 of any other person and the community. The Government was represented by Susan Roe.
26 The defendant was represented by William Hines.


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 1       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2            (1)    There is probable cause to believe the defendant committed the drug
 3                   offense. The maximum penalty is in excess of ten years. There is
 4                   therefore a rebuttable presumption against the defendant’s release based
 5                   upon both dangerousness and flight risk, under Title 18 U.S.C. §
 6                   3142(e).
 7            (2)    The instant offense involved 1,000 kilograms or more of a substance
 8                   containing marijuana. DEA surveillance places defendant at a
 9                   warehouse used for drug delivery. Defendant is therefore viewed as a
10                   risk of danger to the community.
11            (3)    A warrant search of his Washington residence found $580,000.00 in cash
12                   of which defendant denied having any knowledge.
13            (4)    Defendant is viewed as a flight risk. He is a Canadian citizen with no
14                   legal ties to the United States or the Western District of Washington.
15            Based upon the foregoing information which is consistent with the
16   recommendation of U.S. Pre-trial Services, it appears that there is no condition or
17   combination of conditions that would reasonably assure future Court appearances and/or
18   the safety of other persons or the community.
19            It is therefore ORDERED:
20            (l)    The defendant shall be detained pending trial and committed to the
21                   custody of the Attorney General for confinement in a correction facility
22                   separate, to the extent practicable, from persons awaiting or serving
23                   sentences or being held in custody pending appeal;
24            (2)    The defendant shall be afforded reasonable opportunity for private
25                   consultation with counsel;
26            (3)    On order of a court of the United States or on request of an attorney for

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 1               the Government, the person in charge of the corrections facility in which
 2               the defendant is confined shall deliver the defendant to a United States
 3               Marshal for the purpose of an appearance in connection with a court
 4               proceeding; and
 5         (4)   The clerk shall direct copies of this order to counsel for the United
 6               States, to counsel for the defendant, to the United States Marshal, and to
 7               the United States Pretrial Services Officer.
 8         DATED this 18th day of September, 2006.
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                                                    MONICA J. BENTON
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                                                    United States Magistrate Judge
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     DETENTION ORDER
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